









Dismissed and Opinion filed May 30, 2002









Dismissed and Opinion filed May 30, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00131-CV

____________

&nbsp;

BAY OAKS HARBOR PROPERTY OWNERS= ASSOCIATION, INC., Appellant

&nbsp;

V.

&nbsp;

EMMES BAY OAKS I, L.L.C., Appellee

&nbsp;



&nbsp;

On
Appeal from the 11th District Court

Harris
County, Texas

Trial
Court Cause No. 00-46473

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed November 2,
2001.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On March 21, 2002, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed May 30, 2002.

Panel consists of Justices Yates, Seymore, and Guzman.

Do Not Publish C Tex. R. App. P. 47.3(b).





